Case 2:19-cv-00060-SVW-E Document 12 Filed 01/09/19 Page 1 of 4 Page ID #:66
        Case 2:19-cv-00060-SVW-E Document 12 Filed 01/09/19 Page 2 of 4 Page ID #:67




2:18-cv-01101       Lopez and Dixon v. Stamps.com, Inc.      2-9-18         Granted
Case 2:19-cv-00060-SVW-E Document 12 Filed 01/09/19 Page 3 of 4 Page ID #:68




      1/8/2019
Case 2:19-cv-00060-SVW-E Document 12 Filed 01/09/19 Page 4 of 4 Page ID #:69
